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                         EXHIBIT 2

                       REDACTED
Case 1:23-cv-11195-SHS-OTW                      Document 229-2               Filed 08/27/24   Page 2 of 14


From:            NYT-AI-SG-Service@simplelists.susmangodfrey.com on behalf of Alex Frawley
To:              Sexauer, Kenneth Edward
Cc:              NYT-AI-SG-Service@simplelists.susmangodfrey.com; OpenAICopyright;
                 openaicopyrightlitigation.lwteam@lw.com; KVP-OAI
Subject:         RE: [NYTimes] NYT 7/31 M&C Follow-Up
Date:            Tuesday, August 27, 2024 8:28:27 PM
Attachments:     image001.png


EXTERNAL Email
Ken,

We disagree about your characterization of our search term proposal. We have narrowed our
proposal through three sets of revisions, over two months, and the current proposal is more than
reasonable.

We will not provide a document demonstrating which specific request(s) for production relate to
each proposed search term because that information is clear from the terms themselves and doing
so will only further delay this process. OpenAI waited until a July 31 call to make this request,
approximately six weeks after The Times made its initial search term proposal. OpenAI has never
objected to any of The Times’s proposed terms on the ground of relevance. OpenAI’s only objection
has been that the hit counts are too high. The parties are clearly at impasse on search terms, and to
move the case forward, The Times will move to compel OpenAI to apply its proposal.

As for your second question, the current answer is 235,267.

Best,
Alex

From: Sexauer, Kenneth Edward (via NYT-AI-SG-Service list) <NYT-AI-SG-
Service@simplelists.susmangodfrey.com>
Sent: Monday, August 12, 2024 8:39 AM
To: Alex Frawley <AFrawley@susmangodfrey.com>; NYT-AI-SG-
Service@simplelists.susmangodfrey.com
Cc: OpenAICopyright <OpenAICopyright@mofo.com>; openaicopyrightlitigation.lwteam@lw.com;
KVPOAI@keker.com
Subject: [NYTimes] NYT 7/31 M&C Follow-Up

EXTERNAL Email
Counsel,

We have attached an updated search term hit report that reflects the hit count including the four
additional custodians we discussed during the parties’ 7/31 meet and confer. As you will see, the hit
count (including families and excluding already-reviewed documents) is nearly               .
Reviewing this enormous volume of documents would be highly burdensome and disproportionate
to the needs of the case.

We would reiterate our two requests from the conference:
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   1. OpenAI requests that the New York Times provide a document demonstrating which specific
      request(s) for production relate to each of its proposed search terms.

   2. OpenAI requests that the New York Times state how many documents it has reviewed to date
      as a part of its own review of documents for responsive discovery in this litigation.

Best,
Ken


Ken Sexauer
Associate
ksexauer@mofo.com
T: +1 (212) 336-4090

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250 West 55th Street
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u=fIGOkiG8u2jiaPQ0BbCXTK2YLSBMieHZ
Case 1:23-cv-11195-SHS-OTW                    Document 229-2               Filed 08/27/24           Page 4 of 14


From:            Sexauer, Kenneth Edward (via NYT-AI-SG-Service list)
To:              Alex Frawley; openaicopyrightlitigation.lwteam@lw.com; OpenAICopyright; KVP-OAI
Cc:              NYT-AI-SG-Service@simplelists.susmangodfrey.com; NewYorkTimes Microsoft OHS@orrick.com;
                 #NewYorkTimes-Microsoft-FDBR
Subject:         RE: NYT / OAI: Search Terms
Date:            Wednesday, July 24, 2024 8:19:41 PM
Attachments:     image001.png
                 24.07.24 NYT Response Search Term Hit Report.xlsx


EXTERNAL Email
Alex,

OpenAI rejects the Times proposed search terms. A hit report is attached. While Plaintiff’s last set of
terms hit on                                                      , the new terms hit on
                                            This relatively minor reduction in the hit count does
not alter our view that review of the documents that hit on the proposed terms would be overly
burdensome and disproportionate to the needs of the case—especially considering that while
OpenAI’s has already produced                                                                 , the
Times has only produced 186,428 pages amounting to 17.93 GB of data.

As we stated in our previous correspondence, we are available to meet and confer regarding both
parties’ proposed search terms and Plaintiffs’ failure to meet its substantial completion deadline this
Friday (7/26). When are you available that day?

Best,
Ken

Ken Sexauer
Associate
ksexauer@mofo.com
T: +1 (212) 336-4090




From: Sexauer, Kenneth Edward <KSexauer@mofo.com>
Sent: Monday, July 22, 2024 11:33 PM
To: Alex Frawley <AFrawley@susmangodfrey.com>; openaicopyrightlitigation.lwteam@lw.com;
OpenAICopyright <OpenAICopyright@mofo.com>; KVP-OAI <KVPOAI@keker.com>
Cc: NYT-AI-SG-Service@simplelists.susmangodfrey.com;
NewYorkTimes_Microsoft_OHS@orrick.com; #NewYorkTimes-Microsoft-FDBR <NewYorkTimes-
Microsoft-FDBR@faegredrinker.com>
Subject: RE: NYT / OAI: Search Terms

Alex,

We have asked our vendor to generate a search term hit report for your new proposal. We will
provide you with a hit report—including the newly added terms as a courtesy—when the data is
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processed. However, we reserve the right to reject new terms proposed in the future without
providing a hit count.

We are available to meet and confer Thursday (7/25) or Friday (7/26). Both parties’ proposed ESI
orders give a Producing Party three business days to reject a new proposal or five business days to
make a counterproposal. Therefore, OpenAI is under no obligation to accept, reject, or propose
alternatives to the Times’ search terms by tomorrow. In any event, we can be prepared to discuss
ways that Plaintiff can propose terms in ways more likely to achieve a mutually agreeable set of
terms on the dates we suggest.

In addition, on our next meet and confer, we would like to discuss the Times’ document production
to date. Specifically, you should also prepare to discuss the Times’ failure to meet its substantial
completion deadline, about which we will be emailing you separately.

With respect to the search terms OpenAI has proposed to the Times, please proceed with running
the 15 search terms in OpenAI’s counterproposal of July 8th that the Times accepted. We will follow
up with additional proposed terms in light of the Times’ positions with respect to disputed terms.

Best,
Ken


Ken Sexauer
Associate
ksexauer@mofo.com
T: +1 (212) 336-4090




From: Alex Frawley <AFrawley@susmangodfrey.com>
Sent: Friday, July 19, 2024 5:21 PM
To: Sexauer, Kenneth Edward <KSexauer@mofo.com>; openaicopyrightlitigation.lwteam@lw.com;
OpenAICopyright <OpenAICopyright@mofo.com>; KVP-OAI <KVPOAI@keker.com>
Cc: NYT-AI-SG-Service@simplelists.susmangodfrey.com;
NewYorkTimes_Microsoft_OHS@orrick.com; #NewYorkTimes-Microsoft-FDBR <NewYorkTimes-
Microsoft-FDBR@faegredrinker.com>
Subject: RE: NYT / OAI: Search Terms


External Email


Hi Ken,

The Times has made slight revisions to the search term proposal.
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Thank you for the offer to meet and confer about these terms. When are you available on
Tuesday? We ask that you be prepared to discuss which of these terms that OpenAI is willing
to accept and what counter-proposals OpenAI is making for terms it is rejecting.

We disagree with your statement that OpenAI can refuse to provide hit counts for search terms
that we propose. Please provide the hit counts. The Times reserves the right to propose
additional terms, including based on our review of the documents that Defendants have
produced and will produce.

Best,
Alex

Alexander P. Frawley | Susman Godfrey LLP
One Manhattan West, 50th Floor | New York, NY 10001
212.729.2044 (office) | 917.599.6613 (cell)
afrawley@susmangodfrey.com | www.susmangodfrey.com


From: Sexauer, Kenneth Edward <KSexauer@mofo.com>
Sent: Tuesday, July 16, 2024 7:43 PM
To: Alex Frawley <AFrawley@susmangodfrey.com>; openaicopyrightlitigation.lwteam@lw.com;
OpenAICopyright <OpenAICopyright@mofo.com>; KVP-OAI <KVPOAI@keker.com>
Cc: NYT-AI-SG-Service@simplelists.susmangodfrey.com;
NewYorkTimes_Microsoft_OHS@orrick.com; #NewYorkTimes-Microsoft-FDBR <NewYorkTimes-
Microsoft-FDBR@faegredrinker.com>
Subject: RE: NYT / OAI: Search Terms

EXTERNAL Email

Counsel,

A search term hit report reflecting the Times’ updated proposed search terms as applied to current
OpenAI custodians is attached. Including family documents and excluding documents OpenAI has
already reviewed as a part of this litigation, the Times’ new proposal yields
                      . Because review of such a large number of documents would be overly
burdensome and disproportionate to the needs of the case, OpenAI rejects the proposal and
requests that Plaintiff propose a narrower set of terms.

As OpenAI noted in its previous correspondence, eight of the Times’ initially proposed terms could
not be run because they triggered an error in our system. The Times’ proposed modifications
avoided triggering this error. The corresponding hit counts are included in the report. Also included
is a hit count for one term that was inadvertently omitted from our previous report, as revised most
recently by the Times (“giraffe”). Regarding your inquiry about whether it is possible to run the
“CC” term without hitting on carbon copy emails, our vendor was unable to do so but recommended
running “CC NOT w/25 (.com OR (To AND BCC))” as an alternative. As you will see, however, this
term still hits on some carbon copy email references. Furthermore, one of your searches surpassed
the 450-character search term limit for our database. Our Vendor broke that search into the
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following four parts in an attempt to accommodate your request:

        ("validation data" OR "The Pile" OR preprocessing OR "test set" OR "training set" OR
        "evaluation set" OR "text extraction" OR "semantic analysis" OR "source attribution") w/25
        (rule* OR guidance* OR weight* OR perplexity OR ROUGE OR F1 OR classif* OR benchmark
        OR whitelist OR blacklist OR safeguard* OR guardrail* OR quality OR recitation* OR scrap* OR
        checkpoint)


        (*train* OR "fine tun*" OR fine-tun* OR finetun* OR instruct* OR *param* OR corpus OR
        corpora OR token* OR RLHF OR "proximal policy optimization" OR "data set" OR dataset* OR
        "test data") w/25 (discriminator OR curricul* OR classif* OR *score* OR frequen* OR
        contamination* OR duplicat* OR regression* OR cluster* OR feature* OR label* OR attribute*
        OR categ* OR value* OR variable* OR inference OR distillation OR recipe*)

        (*train* OR "fine tun*" OR fine-tun* OR finetun* OR instruct* OR *param* OR corpus OR
        corpora OR token* OR RLHF OR "proximal policy optimization" OR "data set" OR dataset* OR
        "test data") w/25 (rule* OR guidance* OR weight* OR perplexity OR ROUGE OR F1 OR classif*
        OR benchmark OR whitelist OR blacklist OR safeguard* OR guardrail* OR quality OR
        recitation* OR scrap* OR checkpoint)

        ("validation data" OR "The Pile" OR preprocessing OR "test set" OR "training set" OR
        "evaluation set" OR "text extraction" OR "semantic analysis" OR "source attribution") w/25
        (discriminator OR curricul* OR classif* OR *score* OR frequen* OR contamination* OR
        duplicat* OR regression* OR cluster* OR feature* OR label* OR attribute* OR categ* OR
        value* OR variable* OR inference OR distillation OR recipe*)

We also noted that the Times included terms not previously proposed or related to previously
proposed terms. We do not agree that The Times is entitled to inject new terms into this procedure,
where no justification has been given. We will not provide counts for those terms, and they are
rejected.

We are available to meet and confer.

Finally, we interpret your question about RAG as one concerning custodians rather than search
terms. We will respond to that inquiry in due course.

Best,
Ken


Ken Sexauer
Associate
ksexauer@mofo.com
T: +1 (212) 336-4090
Case 1:23-cv-11195-SHS-OTW                  Document 229-2          Filed 08/27/24        Page 8 of 14




From: Alex Frawley <AFrawley@susmangodfrey.com>
Sent: Thursday, July 11, 2024 9:43 PM
To: openaicopyrightlitigation.lwteam@lw.com; OpenAICopyright <OpenAICopyright@mofo.com>;
KVP-OAI <KVPOAI@keker.com>
Cc: NYT-AI-SG-Service@simplelists.susmangodfrey.com;
NewYorkTimes_Microsoft_OHS@orrick.com; #NewYorkTimes-Microsoft-FDBR <NewYorkTimes-
Microsoft-FDBR@faegredrinker.com>
Subject: NYT / OAI: Search Terms


External Email




Counsel,

Attached please find a revised proposal from The Times for search terms to be run on
OpenAI’s custodians’ ESI. For terms we marked “as is”, The Times asks that OpenAI apply
those terms and begin reviewing documents while the parties negotiate the remaining search
terms. For search terms that we revised and added, please send us updated hit counts. The
Times reserves the right to propose additional or revised search terms.

We noticed the hit counts for the “RAG” terms are low, which suggests that none of the
custodians OpenAI selected work on RAG. Is that right? Can you please let us know which
OAI employees work on RAG so we can assess whether those employees should also be
custodians?

Thank you.

Best,
Alex


Alexander P. Frawley | Susman Godfrey LLP
One Manhattan West, 50th Floor | New York, NY 10001
212.729.2044 (office) | 917.599.6613 (cell)
afrawley@susmangodfrey.com | www.susmangodfrey.com


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From:            Sexauer, Kenneth Edward
To:              Alex Frawley
Cc:              NYT-AI-SG-Service@simplelists.susmangodfrey.com; KVP-OAI; openaicopyrightlitigation.lwteam@lw.com;
                 OpenAICopyright; NewYorkTimes Microsoft OHS@orrick.com; #NewYorkTimes-Microsoft-FDBR
Subject:         RE: NYT v. Microsoft et al.
Date:            Monday, July 8, 2024 5:36:18 PM
Attachments:     image001.png


EXTERNAL Email
Alex,

Thank you for your response. While we disagree with several statements in your email, we do not
address them here. Instead, we can discuss on a call. OpenAI would be happy to meet and confer
regarding the issues you raised. However, we are not available today or tomorrow. Is your team
available on Thursday or Friday? If so, what times would work?

Best,
Ken


Ken Sexauer
Associate
ksexauer@mofo.com
T: +1 (212) 336-4090




From: Alex Frawley <AFrawley@susmangodfrey.com>
Sent: Wednesday, July 3, 2024 7:07 PM
To: Sexauer, Kenneth Edward <KSexauer@mofo.com>
Cc: NYT-AI-SG-Service@simplelists.susmangodfrey.com; KVP-OAI <KVPOAI@keker.com>;
openaicopyrightlitigation.lwteam@lw.com; OpenAICopyright <OpenAICopyright@mofo.com>;
NewYorkTimes_Microsoft_OHS@orrick.com; #NewYorkTimes-Microsoft-FDBR <NewYorkTimes-
Microsoft-FDBR@faegredrinker.com>
Subject: RE: NYT v. Microsoft et al.


External Email



Hi Ken,

The Times has narrowed its proposal for additional OAI custodians to the below list. Will OpenAI
agree to make these individuals custodians? If not, please let us know when you are available for a
meet and confer on Monday or Tuesday.

Sam Altman
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Greg Brockman
Mira Murati
Henrique Ponde de Oliveira Pinto
Peter Welinder
James Betker
Bianca Martin
William (Liam) Fedus
Ryan Lowe
Vinnie Monaco
Lillian Weng
Johannes Heidecke
Daniel Kokotajlo
William Saunders
Ilya Sutskever

Your email below incorrectly suggests the parties have “agreed” to a 10-custodian limit “in the
absence of a court order.” There is no such agreement. It also does not make sense to invoke
OpenAI’s “proposed ESI Order,” which has not been entered. In any event, The Times is making a
request for additional custodians, and if OpenAI does not agree, then we’d like to meet and confer.

Please also let us know when the “additional documents” will be produced for RFP 10. Those
documents should have been produced by the June 14 substantial completion deadline.

The Times is working on a revised search term proposal based on the hit counts you provided, and
we will revert.

Finally, to answer your question below, The Times applied its search terms to email data, mobile
data, Slack data, hard drive data, personal drive data, and LinkedIn data. The timeframes searched
are included in our June 12 hit report that we provided to you. The hit counts have increased since
June 12 due to additional data being processed, and we will be providing an updated report.

Best,
Alex

Alexander P. Frawley | Susman Godfrey LLP
One Manhattan West, 50th Floor | New York, NY 10001
212.729.2044 (office) | 917.599.6613 (cell)
afrawley@susmangodfrey.com | www.susmangodfrey.com


From: Sexauer, Kenneth Edward <KSexauer@mofo.com>
Sent: Tuesday, June 25, 2024 6:17 PM
To: Alex Frawley <AFrawley@susmangodfrey.com>; KVP-OAI <KVPOAI@keker.com>;
openaicopyrightlitigation.lwteam@lw.com; OpenAICopyright <OpenAICopyright@mofo.com>;
NewYorkTimes_Microsoft_OHS@orrick.com; #NewYorkTimes-Microsoft-FDBR <NewYorkTimes-
Microsoft-FDBR@faegredrinker.com>
Case 1:23-cv-11195-SHS-OTW                Document 229-2          Filed 08/27/24       Page 12 of 14


Cc: NYT-AI-SG-Service@simplelists.susmangodfrey.com
Subject: RE: NYT v. Microsoft et al.

EXTERNAL Email
Counsel:

I write to address the remaining questions in your June 14 correspondence regarding search terms.
 While we don’t believe we are obligated to provide all of the information you seek, we are doing so
as a matter of professional courtesy.

First, OpenAI has already identified the custodians most likely to have responsive information.
Plaintiff has not demonstrated good cause for the addition of more custodians. OpenAI is already
over the 10-custodian limit that the parties agreed would govern in the absence of a court order.
And per paragraph 4 of OpenAI’s proposed ESI order, unless and until the Plaintiff shows good cause
to add a custodian (or OpenAI agrees to add a custodian), there is no obligation triggered under
paragraph 5. OpenAI therefore respectfully declines The Times’ request that the search terms be
run on additional custodians.

Second, as a general matter, the responsive communications OpenAI has produced are sufficient to
show which OpenAI personnel have knowledge regarding OpenAI’s text generation AI models and
related business matters. Moreover, additional documents responsive to RFP 10 will be produced in
due course.

Third, the hit counts in the reports are derived from Slack and G Suite hits. OpenAI has not limited its
searches or hit reports by type of document.

Fourth, OpenAI has collected documents from the earliest timeframe possible for each custodian. If
we plan to limit searches by timeframe going forward for some reason or for particular requests, we
will let you know. We reserve the right to do so, as OpenAI is not obligated to search for and
produce all documents that hit on any search term without regard to time period.

Finally, please provide information regarding what repositories the Times is applying its search
terms to, including whether it includes Slack, and what timeframe the Times is searching.

Best,
Ken



From: Sexauer, Kenneth Edward
Sent: Thursday, June 20, 2024 9:27 AM
To: 'Alex Frawley' <AFrawley@susmangodfrey.com>; KVP-OAI <KVPOAI@keker.com>;
openaicopyrightlitigation.lwteam@lw.com; OpenAICopyright <OpenAICopyright@mofo.com>;
NewYorkTimes_Microsoft_OHS@orrick.com; #NewYorkTimes-Microsoft-FDBR <NewYorkTimes-
Microsoft-FDBR@faegredrinker.com>
Cc: NYT-AI-SG-Service@simplelists.susmangodfrey.com
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Subject: RE: NYT v. Microsoft et al.

Counsel:

A partial search term hit report for The New York Times’ proposed terms is attached. Eight of the
terms could not be run in our system because the leading wildcard for "*AI*" and trailing wildcard
for "generative a*" caused too many index matches, which triggered an error in the system. The
attached report reflects the hits based on the proposed terms, minus the terms that could not be
run on our system, on the same universe of documents OpenAI ran its terms, and excluding
documents already reviewed by OpenAI. Even without the error-inducing terms and the already-
reviewed documents, the proposed terms yielded over 2 million novel hits including families. Review
of such a large number of terms would be overly burdensome and disproportionate to the needs of
the case. Accordingly, OpenAI rejects the proposal and requests that Plaintiff propose a narrower set
of terms.

We will respond to your other questions in due course.

Best,
Ken

Ken Sexauer
Associate
ksexauer@mofo.com
T: +1 (212) 336-4090




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From: Alex Frawley <AFrawley@susmangodfrey.com>
Sent: Friday, June 14, 2024 9:43 PM
To: KVP-OAI <KVPOAI@keker.com>; openaicopyrightlitigation.lwteam@lw.com; OpenAICopyright
<OpenAICopyright@mofo.com>; NewYorkTimes_Microsoft_OHS@orrick.com; #NewYorkTimes-
Microsoft-FDBR <NewYorkTimes-Microsoft-FDBR@faegredrinker.com>
Cc: NYT-AI-SG-Service@simplelists.susmangodfrey.com
Subject: NYT v. Microsoft et al.


External Email




Counsel,
Case 1:23-cv-11195-SHS-OTW                 Document 229-2           Filed 08/27/24        Page 14 of 14



Attached please find The Times’s counter-proposal for search terms to be run on OpenAI’s
custodians’ ESI. This proposal also includes The Times’s request for additional OpenAI
custodians. The Times reserves the right to propose additional search terms and custodians,
including based on its review of OpenAI’s recent and forthcoming document productions.

We also have a few questions. First, can you please let us know if OpenAI has already made
its document production in response to RFP 10 and if so, can you please identify the bates
number(s)? Second, for the hit counts you provided to us, can you please clarify whether those
hit counts cover all types of documents (e.g., emails, chats, presentations, etc) or, alternatively,
whether the hit counts only cover certain categories of documents? Finally, did OpenAI apply
a particular timeframe for its investigation and production of documents in response to these
RFPs?

Thank you.

Best,
Alex

Alexander P. Frawley | Susman Godfrey LLP
One Manhattan West, 50th Floor | New York, NY 10001
212.729.2044 (office) | 917.599.6613 (cell)
afrawley@susmangodfrey.com | www.susmangodfrey.com


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